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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                            CASE NO. 04-80642

v.                                                   PAUL D. BORMAN
                                                     UNITED STATES DISTRICT JUDGE

TARY HOLCOMB et. al.,

               Defendant,
                                      /


           OPINION AND ORDER DENYING MOTIONS TO SUPPRESS FILED BY
                              D5 – WILLIAM WORTHY
                              D8 – CEDRIC HARDEMAN
                              D9 – RODNEY PURYEAR*

BACKGROUND

       Defendants Worthy, Hardeman and Puryear filed Motions to Suppress evidence seized

from themselves and their cars pursuant to a Federal/State task force stake out of a residence

believed to be the location for marijuana distribution, and the agents’ subsequent car stops of

individual defendants who backed up the driveway to the residence’s garage, and shortly

thereafter drove away from the residence.

       On March 14, 2005, the Court held an evidentiary hearing. At the conclusion of the

hearing, the Court invited supplemental briefing from the parties. On March 31, 2005, the

Government filed a Supplemental Response; on April 15, 2005, Defendant Holcomb filed a


       *
        Defendant Mario Jacobo’s Motion to Suppress deals with a different factual scenario.
That motion will be dealt with in a separate opinion and order.

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Supplemental Response.

         The Court finds that the information in possession of the Government provided the

necessary probable cause to support its actions stopping cars and seizing marijuana on

November 10, 2004.

DISCUSSION

         The Government presented testimony at the evidentiary hearing on March 14, 2005, of an

investigation that was initiated as a result of information from two sources. Thereafter, the

Government investigation, was carried out by wiretap, by investigation, and then by surveillance

that corroborated incriminatory aspects of the wiretaps and investigation. Significant

corroboration of drug distribution occurred as a result of the agent’s first vehicle stop on

November 10, 2004 that did not involve the instant three Defendants. That vehicle, which was

driven by co-Defendant Antonio Curry was justified by the car speeding 85 m.p.h. after

departing from the Plainview address driveway, which Curry had backed up to facilitate hiding

the vehicle. That stop/seizure produced a large load of marijuana. At that point the agents, who

continued their surveillance of the Plainview address, had very strong probable cause to continue

their stops of cars that were backing up the driveway, and then quickly leaving the Plainview

residence.

         The Government called two witnesses to testify at the evidentiary hearing, Sgt. Gregory

Yon and DEA Special Agent Russ Roel. The content of these witnesses’ testimony is set forth

below.

         Sgt. Gregory Yon, a DEA task force agent employed by the Livonia Police Department

testified to a compilation of activity in the possession of law enforcement when the seizures took


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place on November 10, 2004. The Government had been investigating the transporting of

marijuana from Tucson, Arizona, to Detroit based on information from two sources who had

been debriefed. (March 14, 2005 Hearing, Yon testimony P.11).

       The Government had secured a Title III wiretap authorization for phone number (313)

999-1278, which was used by Defendant Tary Holcomb, but owned by Defendant Cedric

Hardeman. Pursuant to the October 17, 2003 wiretap authorization, the Government secured

pertinent information, prior to the first arrest on November 10, 2003, to wit:

               October 23, 2003 – calls from Defendant Holcomb to co-
               Defendant Kenneth Shumpert who was giving directions to an
               unknown person to come to his residence on Woodmont to
               complete a drug transaction. (Yon, P.12)

       Thereafter, the agents surveilled the 7450 Woodmont residence and saw co-Defendant

Shumpert arrive, go into the house, return to his car 10 minutes later and leave. The agents had

Troy police perform a traffic stop that resulted in the recovery of over one pound of marijuana.

Tr. P.14.

       Further information confirmed by the task force prior to arresting the parties to this

Motion to Suppress, was that around November 3, 2003, Defendant Holcomb had flown to

Arizona for about one week, and during that period, received wire communications which the

agents concluded, sounded like a drug transaction being put together, i.e. talking about money,

and a few subject individuals, including Defendant Daniel Sanchez. (Yon, Tr. P.15) In addition,

the agents secured telephone cell-site information from cell towers that placed the Detroit-

numbered cell phone’s presence in Phoenix, Arizona. (Yon, Tr. Pp. 15-16)

       The agents also had information, prior to November 10, 2003, that Defendant Cortney

Allen had a registered address on Plumridge in Southfield, and also another address at 8401

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Plainview in Detroit. (Yon, Tr. P.16). Based on this information, the agents surveilled the

Plainview residence to confirm its location and activity there.

       In addition, the agents had determined that Defendant Holcomb had purchased a silver

Cadillac Escalade SUV prior to going to Arizona, and the agents saw Holcomb drive it on

November 9, 2003, from the Woodmont address to Defendant Hardeman’s address on Corbett

Street in Detroit. (Yon, Tr. P.18).

       The Agents had also determined by surveillance that Defendant Hardeman had a silver

green Dodge Intrepid at his residence. (Yon, Tr. P.18).

       The Agents had also determined that Defendant William Worthy owned a white Cadillac,

that was seen being driven by Defendant Allen in June, 2003. (Yon, Tr. P.19).

       Based on the conversations in Arizona, additional overhears on November 10, 2003, and

facts contained in the testimony of the second law enforcement agent at the instant hearing,

noted infra, the agents, based on the facts and their experience, believed that a load of marijuana

was coming to Detroit.

       Significantly, the November 10, 2003 telephone overhears by FBI Special Agent Jesse

Lopez, prior to any law enforcement activity directed toward the seizure of the instant

Defendants, included calls beginning in the early morning, 9 a.m., in surreptitious coded

language, speaking about going over to “the View”, or the 8401 Plainview address. One

monitored conversation was of an individual giving directions towards the Plainview address.

The agents then proceeded to surveil that address. The intercepted phone communications

testified to, were transcribed on “line sheets”, to be discussed, infra.

       The agents, upon arriving at 8401 Plainview about 11:30 a.m., saw Holcomb’s Cadillac


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Escalade parked in front of the house, and a black Chevy Silverado truck backed up into the

driveway with its rear end facing the garage, with the wooden driveway gate opened to facilitate

entrance into the driveway. (Yon, Tr. P.23)

       When the Chevy Silverado left, agents followed it for a distance onto the freeway,

determined that it was traveling at speeds of approximately 85 miles an hour, in violation of the

law, and stopped the truck for the speeding violation. This was proper under Whren v. United

States, 116 S.Ct. 1769 (1996). A search of the Silverado revealed the driver to be co-Defendant

Antonio Curry, and further revealed the smell of burning marijuana inside the vehicle, a small

bag of marijuana in Mr. Curry’s pocket, three black garbage bags filled with marijuana in the

bed of the truck, and two plane ticket stubs for Mr. Curry, for a flight to Phoenix, Arizona, on

November 4, 2003, and back to Detroit on November 8, 2003. (Yon, Tr. Pp. 25-26)

       Given the finding of marijuana in Mr. Curry’s possession, there was probable cause to

arrest him and search the vehicle. Given the results of the search, combined with the previous

scenario at the Plainview address and the phone conversations discussed infra, there was

probable cause to believe that marijuana was being distributed from the Plainview address to

which Curry had backed up his truck.

       Continued Agent surveillance at the Plainview house revealed a grayish blue Cadillac

and a green mini-van, the latter being driven by co-Defendant William Worthy.

       The agents also saw a silver Dodge Intrepid, registered to co-Defendant Cedric

Hardeman, driven by him, arrive at the Plainview address. Defendant Hardeman went into the

house, exited, backed the car up the driveway to the garage, and left a short time later. The

Hardeman Dodge was stopped at agents’ directions, and in searching the car, agents found a


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black garbage bag containing approximately 40 pounds of marijuana. (Yon, Tr. P.37) Given the

prior facts – the wiretaps, the activity at the house, the seizure of marijuana from Curry, and

Hardeman’s backing up the driveway, there was probable cause to stop and search his vehicle.

       Agents at the Plainview address, next saw an Oldsmobile Delta 88, driven by co-

Defendant Puryear, back up the driveway, with the guiding assistance of Defendant Worthy.

(Yon Tr. P.39) Puryear’s vehicle soon left, was stopped, searched, and a black garbage bag

contained approximately 40 pounds of marijuana was recovered from the truck. (Yon, Pp. 40-41)

For the aforestated reasons there was probable cause to search Mr. Puryear’s car, seize the

marijuana, and then arrest him.

       Next, agents at the Plainview address saw the blue Cadillac, that had been parked in

front, back up the driveway and then leave. That car was not followed due to the lack of

available agents.

       When Defendant Worthy, who remained at the house, locked up the house with a key,

and departed in his green mini-van, he was stopped. Worthy had been present during most of the

transactions, and appearing to be directing the marijuana distribution operation. Worthy was

found to posses a semi-automatic pistol. (Yon, Tr. P.43) In addition, a canine smell of his car

produced an indication of narcotics, although none was found. (Yon, Tr. P.44) The Court finds

that under the totality of circumstances, there was probable cause to stop Mr. Worthy and seize

his gun. See Illinois v. Gates, 462 U.S. 213 (1983).

       As to Defendant Hardeman, he was stopped because of the finding of marijuana in Mr.

Curry’s truck, and based on the intercepted phone conversations between him and Mr. Holcomb.

       The Government’s second witness, DEA Special Agent Ross Roel testified that he had


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received the following information on the morning of November 10, 2003, from Special Agent

Jesse Lopez who was monitoring the aforementioned phone number pursuant to the Title III

wiretap authorization:

               Tary Holcomb was meeting with other individuals at the Plainview
               address. He had been given directions to “C’s house,” Courtney
               Allen’s house, on the “View”. The terminology used the term
               “View”, and gave the specific intersection of Joy and Evergreen.
               (Roel testimony Pp. 50-51)

       S.A. Roel testified that after receiving the wiretap information, he established

surveillance at the 8401 Plainview address at approximately 11:30 a.m., observing Tary

Holcomb’s silver Cadillac Escalade parked in front of the house, saw the black Chevrolet

Silverado backed into the driveway, saw the Escalade leave at 11:45 a.m. and then the Silverado

leave at 11:55 a.m. (Tr. P.54) Roel followed the Silverado at speeds up to 85 M.P.H., had it

stopped and found Defendant Antonio Curry driving, and Cortney Lewis as the passenger.

       Roel was provided the “line sheets”, which summarized the monitored phone

conversations by the task force. He testified as to the following pertinent overheard

conversations on November 10, 2003:

               1. 9:55 a.m. – Defendant Holcomb speaks with Defendant
               Worthy, requesting to meet on the View.
               2. 10:00 a.m. – Holcomb speaks with Worthy – is the computer
               close. S.A. Roel believes “computer” is code for marijuana (Roel,
               Tr. Pp. 57-58). Further background in support of this conclusion
               as to the term computer/marijuana is the knowledge that Holcomb
               was in Arizona the prior week, and reviewing the conversations, it
               appears as a marijuana transaction is being put together where
               marijuana would be transported from Arizona to Detroit for
               distribution.
               3. 10:23 a.m. – Holcomb speaks with an unknown male telling
               him to get on his way, and call Holcomb when he gets close.
               4. 10:50 a.m. – Holcomb and unknown male; Holcomb asks if he
               knows where C, code for Defendant Cortney Allen stays – that

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                being the home on 8401 Plainview.
               5. 10:56 a.m. – Holcomb and unknown male, who says he’s sitting
               outside the “crib”, asking where to park. Holcomb says park on
               the side.
               6. 11:29 – Holcomb talks with Defendant Worthy; Holcomb
               complains that there was only 138, not the expected 200; the
               conversation speaks about 8 CDs being only 138. S.A. Roel
               interprets this as code for pounds of marijuana; that the garbage
               bags of marijuana were supposed to be 8 bags each of 25 pounds,
               equaling 200 pounds, but instead defendant only received 138
               pounds. (Tr. P.60) The net lab weight of the marijuana seized that
               day added up to 120 pounds.
               7. 11:30 a.m. – Holcomb speaks with Defendant Hardeman, says
               Holcomb will drop off his car at his house, and ride back with
               Hardeman. (Tr. P.60)
               8. 11:50 a.m. – Holcomb talks to Mary Hardeman, believed to be
               Cedric’s wife; Holcomb says he’s on his way but still on the west
               side. Holcomb’s location is 8401 Plainview on the west side;
               Hardeman’s residence is on the east side.
               9. 12:11 p.m. – Holcomb and unknown male re what’s Holcomb’s
               address. Holcomb says, “see a man in between about 11-5, $12,
               about 11-5.” Agent interprets this to be code about the price per
               pound of marijuana – $1150-$1200, based on that being
               Holcomb’s response to the caller’s question “what’s your address.”
               (Tr. P.61) Also based on Agent’s experience, traffickers use coded
               language to discuss drugs and the price. Finally, it doesn’t make
               sense to respond between 11-5 and 12 to a question about an
               address, but it does make sense, when between $1150 and $1200 is
               the street price of marijuana, to assume that the conversation
               relates to the sale of marijuana.

       The hard information about the trips to Phoenix, Arizona, a source city for drugs, and the

drug marijuana in particular, taken the previous day by co-conspirators, was corroborated by the

“fingerprint” of the cell phone being in Arizona.

       In addition the overheard conversations back in Detroit confirm, albeit in coded language

that was not very sophisticated or hidden, that drugs were on the way to the Plainview address,

that multiple individuals were being directed to the Plainview address, that the drugs were being

sold for $1150-$1200 per pound the street price for marijuana in Detroit. In addition, that cars

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would back up the driveway which would enable surreptitious loading of the drugs, provides an

additional incriminating fact.

         Clearly, there was probable cause to believe that marijuana was going to be distributed at

the Plainview address that morning, and the conduct of the visitors corroborated that probable

cause. As the United States Court of Appeals for the Sixth Circuit noted recently:

                [T]he purpose of corroboration – not to necessarily corroborate
                every detail, but to increase the reliability of the information. See
                Gates, 462 U.S. 244-45 (“it is enough for purposes of assessing
                probable cause that ‘corroboration through other sources of
                information reduce(s) the chances of a reckless or prevaricating
                tale’ . . . .”) United States v. Bryant, ___WL, (6th Cir. 04-5064)
                May 13, 2005 (unpublished opinion).

         In this case, there was solid information picked up on the wiretaps, combined with

corroborating of Arizona trips, surveillance and the Curry stop/seizure to provide probable

cause.

         While Agent Yon testified that the investigation began with tips from informants, the

Government did not rely on the informant’s information as a basis for the subsequent

stops/seizures/arrests. Thus, the fact that the informant was not identified is of no relevance.

         In addition, the information gained from the Title III intercepts, came from Defendants’

voices, for the most part, rather than unidentified/unidentifiable individuals.

         At the end of the day, the Government’s Title III wiretap information, its surveillance and

corroboration of the information, the suspicious activity occurring at the Plainview address, and

the Curry seizure supports a finding of probable cause. There are specific and articulable facts,

to justify the stops, searches, arrests, and seizures of the three instant Defendants under the

Fourth Amendment. See Draper v. United States, 358 U.S. 307 (1959).


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        Accordingly, the Court DENIES the Motions to Suppress filed by Defendants William

 Worthy, Cedric Hardeman, and Rodney Puryear.

        SO ORDERED.




                                             s/Paul D. Borman
                                             PAUL D. BORMAN
                                             UNITED STATES DISTRICT JUDGE

 Dated: May 18, 2005

                                 CERTIFICATE OF SERVICE

 Copies of this Order were served on the attorneys of record by electronic means or U.S. Mail on
 May 18, 2005.


                                             s/Jonie Parker
                                             Case Manager




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